08-01789-cgm   Doc 22816   Filed 01/09/23 Entered 01/09/23 17:31:35   Main Document
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                                  Exhibit A
                        08-01789-cgm             Doc 22816    Filed 01/09/23 Entered 01/09/23 17:31:35   Main Document
                                                                          SERVICE LIST A
                                                                           Pg 4 ofT000803-T000820
                                                                  TRANSFER NUMBER    4
                                                                          1/05/2023

TRANSFEROR   TRANSFEREE NAME                          CONTACT NAME    ADDRESS 1       ADDRESS 2   CITY      STATE    ZIP CODE
    X
                       Redacted for Confidentiality
                       Reasons


                 X
                       Redacted for Confidentiality
                       Reasons
